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4      San Francisco, CA 94105-2482
       Phone Number (415)268-7000
5      Facsimile: (415) 268-7522
6      Attorneys for Defendant
       SUMMER INFANT (USA), INC.
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10                               UNITED STATES DISTRICT COURT
11
                             CENTRAL DISTRICT OF CALIFORNIA
12

13                                   LOS ANGELES DIVISION

14

15     KEEZIO GROUP, LLC, a California      )
                                            ) Case No. 2:22-cv-3429
       limited liability company,           )
16                                          )
                    Plaintiff,              ) NOTICE OF REMOVAL
17                                          )
                                            )
18
              vs.                           )
                                            )
19                                          )
       SUMMER INFANT (USA), Inc.,           )
20                                          )
                                            )
21                  Defendant.              )
                                            )
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2
              Pursuant to 28 U.S.C. § 1446, Defendant Summer Infant (USA), Inc.,

3      (“Defendant” or “Summer Infant”), by and through its undersigned counsel, hereby
4
       files its Notice of Removal of this action (the “Action”) from the Superior Court of the
5

6      State of California for the County of Los Angeles, Central District, to the United States
7
       District Court for the Central District of California Los Angeles Division. Summer
8
       Infant appears for the purpose of removal only and for no other purpose, reserves all
9

10     defenses and rights available to it, and states as follows:
11
              1.     On or around April 8, 2022, Plaintiff Keezio Group, LLC (“Plaintiff” or
12

13                  “Keezio”) commenced the Action in the Superior Court of the State of
14
                    California for the County of Los Angeles, Central District, as Case No.
15
                    22STCV11992. The State Court Docket and Pleadings are hereto as Exhibit
16

17                  A , and the Civil Cover Sheet is attached hereto as Exhibit B.
18
              2. In the Complaint, Plaintiff alleges that Summer Infant purposefully and with
19

20                  the specific intention of maligning Keezio’s product (including OmniBoost),
21                  tradename, and business reputation, and in connection with promoting its
22
                    products to Amazon, filed malicious and knowingly false complaints with
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24                  Amazon alleging that Keezio’s OmniBoost product infringed upon the
25
                    trademarks owned or controlled by Summer Infant. Compl., Ex. A, ¶ 7.
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1             3. Plaintiff claims that as a result of Summer Infant’s Amazon complaints,
2
                    Amazon suspended Keezio’s rights to market and sell OmniBoost and
3

4                   removed the product from the Amazon online retail sales platform, resulting
5                   in injury to Keezio’s brand, tradename and long-established business
6
                    relationship, as well as pecuniary loss attributable to lost sales of its products.
7

8                   Id.
9
              4. Plaintiff also alleges that Summer Infant’s conduct caused Keezio to
10

11
                    unnecessarily modify its advertising and business practices to Keezio’s

12                  further damage. Id.
13
              5. The Complaint states that the damages will exceed $75,000, exclusive of
14

15                  interest and costs. Compl., Ex. A, ¶ 33.
16
              6. On or about April 19, 2022, counsel for Summer Infant accepted service of
17

18
                    the Summons and Complaint. A copy of the Service of Process Transmittal

19                  is attached hereto as Exhibit C.
20
              7. No orders have been issued in the Action.
21

22            8. In accordance with the requirements of 28 U.S.C § 1446(b)(1) this Notice of
23
                    Removed is filed within thirty (30) days of Summer Infant’s receipt, through
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                    service or otherwise, of the Complaint and Summons.
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1             9. Plaintiff alleges that it is a limited liability company organized and existing
2
                    under the laws of the State of California.
3

4             10. Plaintiff’s members, Davis Clute and Nathan Ross, are residents of California
5                   and Tennessee, respectively. A copy of the Statement of Information filed
6
                    by Plaintiff with the Secretary of State of California is attached hereto as
7

8                   Exhibit D.
9
              11. Summer Infant is a Delaware corporation with its principal place of business
10

11
                    at 1275 Park East Drive, Woonsocket, Rhode Island.

12            12. The Action is a civil action over which this Court has jurisdiction pursuant
13
                    to 28 U.S.C § 1332(a)(1) and is one which may be removed to this Court
14

15                  pursuant to the provisions of 28 U.S.C § 1441, because the parties are
16
                    citizens of different states and the amount in controversy with respect to
17

18
                    Plaintiff exceeds $75,000, exclusive of interest and costs.

19            13. Pursuant to 28 U.S.C § 1446(d), Summer Infant will promptly file a copy of
20
                    this Notice of Removal with the Clerk of the Superior Court of the State of
21

22                  California for the County of Los Angeles, Central District, and will serve a
23
                    copy of the same on counsel for Plaintiff.
24
              WHEREFORE, Defendant Summer Infant hereby removes the Action now
25

26            pending in the Superior Court of the State of California for the County of Los
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       _________________________________________________________________________________
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1             Angeles, Central District Case No. 22STCV11992, to the United States District
2
              Court for the Central District of California Los Angeles Division.
3

4      DATED: May 19, 2022
5

6                                                            William F. Tarantino
                                                             Morrison & Foerster LLP
7                                                            Attorneys for Defendant
                                                             SUMMER INFANT (USA),
8                                                            INC.
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                                      NOTICE OF REMOVAL
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1                                 CERTIFICATE OF SERVICE
2
       I hereby certify that on the 19th day of May, 2022, a true and accurate copy of this
3      document was e-filed and served to the following:
4
              Scott D. Dinsmore
5
              Ryan J. Jones
6             Law Offices of Scott Dinsmore, APC
              324 Manhattan Beach Blvd., Suite 201
7
              Manhattan Beach, CA 90266
8             sdinsmore@lawinmb.com
9
              rjones@lawinmb.com

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                                              William F. Tarantino
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